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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

RENESAS TECHNOLOGY CORP.,
Plaintiff,

V' Civil Action No. 07~53 (JJF)

SAMSUNG ELECTRONICS CO. LTD.,
-and-
SAMSUNG ELECTRONICS AMERICA INC.,

Defendants.

 

 

NOTICE AND ORDER OF DISMISSAL
Pursuant to F ederal Rule of Civil Procedure 41 (a)(l)(A)(i), plaintiff Renesas
Technology Corp. (“Renesas”) hereby files this notice of dismissal of the above captioned case
against Samsung Electronics Co., Ltd. and Samsung Electronics America Inc. (collectively
“Samsung”) pursuant to a Settlement Agreement dated April 25, 2008. The dismissal of this
action shall be with prejudice, with each party bearing its own costs and attomey’s fees, and

subject to the provisions, terms, and conditions of the Settlement Agreement.

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Renesas Technology Corp.

Dared; April 29, 2008

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IT ls so 0RDERED this j day of%, 2008.

QWM'YW

Un@ StatYDiWct Judge

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